 Fill in this information to identify the case:
 Debtor 1         Blake L. Mackesy

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the:        Middle District of Pennsylvania
                                                                                (State)
 Case number 22-00340-MJC


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                          12/15



If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1

Name of creditor: U.S. Bank National Association, not in its                        Court claim no. (if known): _21-1____
individual capacity but solely as Trustee for RMTP Trust, Series
2021 Cottage-TT-V

                                                                                    Date of payment change:                           08/01/2025
                                                                                    Must be at least 21 days after date
                                                      9130
                                                                                    of this notice
Last four digits of any number you use to
identify the debtor`s account:


                                                                                    New total payment:                                $1,726.56
                                                                                    Principal, interest, and escrow, if any


Part 1:             Escrow Account Payment Adjustment
             1.           Will there be a change in the debtor`s escrow account payment?


 ☐No

 ☒Yes                     Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe the basis for the
                          change. If a statement is not attached, explain why:_______________
                          _________________________________________________________________________________
                            Current escrow payment:        $652.59                        New escrow payment:       $692.92

Part 2:             Mortgage Payment Adjustment
               2.         Will the debtor`s principal and interest payment change based on an adjustment to the interest rate in the
                          debtor`s variable-rate note?

 ☒No

 ☐Yes                     Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not attached, explain
                          why: ________________________________


                          Current Interest Rate: %              New interest rate:        %
                          Current principal and interest
                                                                New principal and interest payment:        $
                          payment: $
Part 3:           Other Payment Change
               3.         Will there be a change in the debtor`s mortgage payment for a reason not listed above?

 ☒No


 ☐Yes                     Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement. (Court
                          approval may be required before the payment change can take effect)
                          Reason for change: ____________________________________________________________________________
                          Current mortgage payment: $                         New mortgage payment: $




 Official Form 410S1                                    Notice of Mortgage Payment Change                                                                                  Page 1

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Debtor 1   Blake L. Mackesy                                                     Case Number (if known)     22-00340-MJC
           First Name            Middle Name        Last Name

Part 4:      Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
 number.
 Check the appropriate box
          ☐ I am the creditor.
          ☒ I am the creditor`s authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
 information, and reasonable belief.

 X   /s/ Lauren
           __ M. Moyer, Esqurie                                                               06/26/2025
                                                                ______________________ Date ____                 _____________
           Signature

 Print:                 Lauren M. Moyer             ______________________ Title             Attorney for Creditor________
                        First name                  Middle Name     Last name

 Company                Friedman Vartolo LLP                                       _______________

 Address                1325 Franklin Avenue, Suite 160, _________________________________________
                        Number             Street

                        Garden City, NY 11530                   _______________
                        City               State    Zip Code

 Contact phone          (212) 471-5100___ Email:    lmoyer@friedmanvartolo.com




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                                                                                 05/21/2025               OUR INFO
                                       RETURN SERVICE ONLY                                                ONLINE
                                       PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                       PO Box 818060                                                      www.rushmoreservicing.com
                                       5801 Postal Road
                                       Cleveland, OH 44181

                                                                                                          YOUR INFO
                                                                                                          CASE NUMBER



                                                                                                          LOAN NUMBER
        JACK N ZAHAROPOULOS
        8125 ADAMS DRIVE, SUITE A
                                                                                                          PROPERTY ADDRESS
        HUMMELSTOWN,PA 17036
                                                                                                          394 RIDGE AVE
                                                                                                          KINGSTON, PA 18704




        Dear JACK N ZAHAROPOULOS

        An escrow analysis was performed on the above referenced account.

        Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
        statement is for informational purposes only and should not be construed as an attempt to collect a debt.

        No action is required. A copy of this Escrow Account Disclosure Statement has also been provided to BLAKE L. MACKESY
        for reference.

        If you have any questions, please call our Bankruptcy Department at 877-888-4623. Our hours of operation are Monday
        through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.rushmoreservicing.com for more information.

        Sincerely,

        Rushmore Servicing

        Enclosure




        Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
        Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
        collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
        Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
        informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
        the right to exercise the legal rights only against the property securing the loan obligation, including the right to
        foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
        to collect against the borrower personally or an attempt to revive personal liability.
        If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
        borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
        informational purposes only and is not an attempt to collect a debt from you personally.

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Case 5:22-bk-00340-MJC   Doc Filed 06/26/25 Entered 06/26/25 09:39:27   Desc
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                                                                                 Escrow Account Disclosure Statement
                               RETURN SERVICE ONLY
                               PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                               PO Box 818060
                               5801 Postal Road                                  Customer Service: 877-888-4606
                               Cleveland, OH 44181
                                                                                 Monday through Friday from 7 a.m. to 8 p.m. (CT)


                                                                                 Tax/Insurance: 800-303-2513
                                                                                 Monday through Friday from 8 a.m. to 9 p.m. (ET)

                                                                                 Your Loan Number:
JACK N ZAHAROPOULOS
                                                                                 Statement Date: 05/21/2025
8125 ADAMS DRIVE, SUITE A
HUMMELSTOWN,PA 17036




      Why am I         Rushmore Servicing completed an analysis of your escrow account to ensure that the account is funded
 receiving this?       correctly, determine any surplus or shortage, and adjust your monthly payment accordingly. Rushmore
                       Servicing may maintain an escrow cushion equal to two months' estimated taxes and insurance (unless limited
                       by your loan documents or state law). This measure helps to void a negative balance in the event of changing
                       tax and insurance amounts.

What does this         The escrow analysis is based on the assumption that your loan is current, and all past due payments have been
 mean for me?          made. Based on this assumption, your Escrow Account is projected to have more money than needed,
                       resulting in a surplus of $5,417.17. If you are behind on your payments this is not a true surplus.


     What do I         Please note that effective 08/01/2025, your new total monthly payment will be $1,726.56.
    need to do?
                                                             Current Monthly                                         New Monthly
 Total Payment                                                                      Payment Changes
                                                                    Payment                                             Payment
 PRINCIPAL AND INTEREST                                              $1,033.64                     $0.00                 $1,033.64
 ESCROW                                                               $652.59                     $40.33                  $692.92
 Total Payment                                                      $1,686.23                     $40.33                $1,726.56
 See below for surplus calculation

  What is a Surplus? A surplus is the difference between the lowest projected balance and the minimum required balance of
  your account for the coming year, as shown below. Please see second page for coming year details.

                        Minimum Required Balance                                   Lowest Projected Balance


                                  $1,147.16                                                 $6,564.33


                                                      Surplus Amount $5,417.17
                         Please see the Coming Year Projections table on the back for more details.
 Escrow Payment                                          Current Annual                                           Anticipated Annual
                                                                                Annual Change
 Breakdown                                                Disbursement                                                 Disbursement
 SCHOOL TAX                                                    $3,059.54                 ($47.81)                            $3,011.73
 BOROUGH TAX                                                     $1,401.26                 $0.00                             $1,401.26
 FHAMIP INS                                                     $1,463.28                ($31.20)                           $1,432.08
 HAZARD SFR                                                     $1,907.00               $563.00                             $2,470.00
 Annual Total                                                  $7,831.08                $483.99                             $8,315.07
 If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing
 authority or insurance provider. For more information about your loan, please sign in at www.rushmoreservicing.com.




Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
the right to exercise the legal rights only against the property securing the loan obligation, including the right to
foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
informational purposes only and is not an attempt to collect a debt from you personally.

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The change in your escrow payment** may be based on one or more of the following factors:
PAYMENT(S)                                           TAXES                                           INSURANCE
● Monthly payment(s) received were less than         ● Tax rate and/or assessed value changed        ● Premium changed
   or greater than expected                          ● Exemption status lost or changed              ● Coverage changed
● Monthly payment(s) received earlier or later       ● Supplemental/Delinquent tax paid              ● Additional premium paid
   than expected                                     ● Paid earlier or later than expected           ● Paid earlier or later than expected
● Previous overage returned to escrow                ● Tax installment not paid                      ● Premium was not paid
● Previous deﬁciency/shortage not paid entirely      ● Tax refund received                           ● Premium refund received
                                                     ● New tax escrow requirement paid               ● New insurance escrow requirement paid
                                                                                                     ● Force placed insurance premium paid

                                      Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 05/24 through 07/25. This statement itemizes your actual
escrow account transactions since your previous analysis statement or initial disclosure, and projects payments,
disbursements, and balances for the coming year. The projections from your previous escrow analysis are included with the actual
payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you
can determine where a difference may have occurred. When applicable, the letter 'E' beside anamount indicates that a payment or
disbursement has not yet occurred but is estimated to occur as shown.

Projections are included to ensure sufﬁcient funds are available to pay your taxes and/or insurance for the coming year. Under
Federal Law (RESPA), the lowest monthly balance in your escrow account should be no less than $1,147.16 or 1/6th of the total annual
projected disbursement from your escrow account, unless your mortgage documents or state law speciﬁesotherwise. Your projected
estimated lowest account balance of $6,564.33 will be reached in September 2025. When the minimum required balance is
subtracted from your lowest projected balance, an Escrow Surplus results in the amount of $5,417.17. These amounts are indicated
with an arrow (<).
This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcy ﬁling
date are included in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other
amounts that will come due after the ﬁling of your bankruptcy case.
          Projected       Actual          Projected               Actual                     Description               Projected          Actual
Month     Payment        Payment        Disbursement          Disbursement                                              Balance          Balance
                                                                                                 Start                  $2,821.13      ($14,225.45)
 05/24       $0.00         $613.55                   $0.00            $121.94* *             FHAMIP INS                    $2,821.13    ($13,733.84)
 05/24       $0.00       $1,405.67*                  $0.00              $0.00                 Esc deposit                  $2,821.13     ($12,328.17)
 06/24       $0.00         $613.55                   $0.00            $121.94* *             FHAMIP INS                    $2,821.13     ($11,836.56)
 06/24       $0.00       $1,405.67*                  $0.00              $0.00                 Esc deposit                  $2,821.13    ($10,430.89)
 07/24       $0.00        $1,405.67                  $0.00            $119.34* *       Esc deposit/FHAMIP INS              $2,821.13      ($9,144.56)
 08/24       $0.00         $910.99                  $121.94           $119.34* *       Esc deposit/FHAMIP INS             $2,699.19        ($8,352.91)
 08/24      $238.41      $652.59*E                   $0.00              $0.00                   BK ADJ                    $2,937.60       ($7,700.32)
 09/24      $652.59       $1,879.69                 $121.94           $119.34* *             FHAMIP INS                   $3,468.25      ($5,939.97)
 09/24       $0.00         $774.35               $3,059.54          $3,011.73* *       Esc deposit/SCHOOL TAX               $408.71        ($8,177.35)
 10/24      $652.59        $652.59                  $121.94           $119.34* *             FHAMIP INS                     $939.36       ($7,644.10)
 10/24       $0.00         $189.41*                  $0.00              $0.00                 Esc deposit                   $939.36      ($7,454.69)
 11/24      $652.59        $652.59                  $121.94           $119.34* *             FHAMIP INS                    $1,470.01      ($6,921.44)
 12/24      $652.59       $3,106.79                 $121.94           $119.34* *             FHAMIP INS                  $2,000.66       ($3,933.99)
 01/25      $652.59       $1,266.14                 $121.94           $119.34* *             FHAMIP INS                    $2,531.31       ($2,787.19)
 02/25      $652.59       $3,125.30                 $121.94           $119.34* *             FHAMIP INS                   $3,061.96           $218.77
 03/25      $652.59       $1,892.03               $1,401.26             $0.00               BOROUGH TAX                    $2,313.29         $2,110.80
 03/25       $0.00          $0.00                   $121.94           $119.34* *             FHAMIP INS                    $2,191.35         $1,991.46
 04/25      $652.59       $1,892.03                  $0.00          $1,401.26* *            BOROUGH TAX                  $2,843.94          $2,482.23
 04/25       $0.00          $0.00                   $121.94           $119.34* *             FHAMIP INS                   $2,722.00         $2,362.89
 05/25      $652.59       $1,892.03                 $121.94             $0.00                FHAMIP INS                   $3,252.65         $4,254.92
 05/25       $0.00       $5,577.48E                  $0.00              $0.00      Anticipated Payments 11/23-07/24       $3,252.65         $9,832.40
 05/25       $0.00          $0.00                $1,907.00         $2,470.00*  *             HAZARD SFR                   $1,345.65         $7,362.40
 06/25      $652.59        $652.59                  $121.94         $119.34*E *E             FHAMIP INS                   $1,876.30         $7,895.65
 07/25      $652.59        $652.59                  $121.94         $119.34*E *E             FHAMIP INS                  $2,406.95          $8,428.90
 Total      $7,416.90    $31,213.30              $7,831.08          $8,558.95                    Total                   $2,406.95        $8,428.90
          Projected                       Projected                                                                      Current       Required
          Payment                       Disbursement                                         Description                 Balance        Balance
Month                                                                                                                                  Projected
                                                                                                 Start                  $8,428.90         $3,011.73
 08/25       $692.92                                $119.34                                   FHAMIP INS                 $9,002.48         $3,585.31
 09/25       $692.92                                $119.34                                   FHAMIP INS                  $9,576.06       $4,158.89
 09/25          $0.00                             $3,011.73                                   SCHOOL TAX                  $6,564.33        $1,147.16<
 10/25       $692.92                                $119.34                                   FHAMIP INS                   $7,137.91       $1,720.74
 11/25       $692.92                                $119.34                                   FHAMIP INS                   $7,711.49      $2,294.32
 12/25       $692.92                                $119.34                                   FHAMIP INS                 $8,285.07        $2,867.90
 01/26       $692.92                                $119.34                                   FHAMIP INS                 $8,858.65        $3,441.48
 02/26       $692.92                                $119.34                                   FHAMIP INS                  $9,432.23       $4,015.06
 03/26       $692.92                              $1,401.26                                  BOROUGH TAX                  $8,723.89       $3,306.72
 03/26          $0.00                               $119.34                                   FHAMIP INS                 $8,604.55         $3,187.38
 04/26       $692.92                                $119.34                                   FHAMIP INS                   $9,178.13      $3,760.96
 05/26       $692.92                                $119.34                                   FHAMIP INS                   $9,751.71      $4,334.54
 05/26          $0.00                            $2,470.00                                    HAZARD SFR                   $7,281.71      $1,864.54
 06/26       $692.92                                $119.34                                   FHAMIP INS                  $7,855.29        $2,438.12
 07/26       $692.92                                $119.34                                   FHAMIP INS                 $8,428.87         $3,011.70
 Total      $8,315.04                            $8,315.07                                       Total                   $8,428.87        $3,011.70
Bankruptcy Adjustment - The Prior Year Account History and Coming Year Projections section of the Annual Escrow
Account Disclosure Statement may contain a line item called "Bankruptcy Adjustment". This amount is a credit based
upon the unpaid portion of the escrow funds listed on the proof of claim to be paid through the Chapter 13 plan. The
amount of the credit is calculated and applied to reach the minimum required balance for the escrow account as
allowed under the loan documents and applicable non-bankruptcy law. The credit may not represent the total
outstanding amount of escrow funds owed in the proof of claim but ensures that any escrow funds listed on the proof
of claim to be paid through the plan will not be collected through the escrow shortage or surplus listed in the Annual
Escrow Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow funds are listed as
a credit to reach the required minimum account balance.
You will receive an Annual Escrow Account Disclosure Statement reﬂecting the actual disbursements at the end of the
next escrow analysis cycle. However, you should keep this statement for your own records for comparison. If a previous
escrow analysis statement was sent to you by your previous servicer, please refer to that statement for comparison
purposes. If you have any questions, please call Tobey Scott at (877)-888-4623. Our hours of operation are Monday
through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.rushmoreservicing.com for more information.

Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.




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                                    UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:       Blake L. Mackesy                            CASE NO.: 22-00340-MJC
                           Debtor
                                                          CHAPTER 13
              Rushmore Servicing as servicer for U.S.
              Bank National Association, not in its     Judge: Mark J. Conway
              individual capacity but solely as Trustee
              for RMTP Trust, Series 2021 Cottage-      Hearing Date:
              TT-V
              v.

              Blake L. Mackesy
              Jack N Zaharopoulos Jack N.
              Zaharopoulos, III
                            Respondents

                       CERTIFICATE OF SERVICE OF NOTICE OF PAYMENT CHANGE

         The undersigned counsel for Rushmore Servicing as Servicer for U.S. Bank National Association, not
in its individual capacity but solely as Trustee for RMTP Trust, Series 2021 Cottage-TT-V, (“Secured
Creditor”) certify that, on the date stated hereon, I caused to be served a copy of the Notice of Payment
Change filed on behalf of Secured Creditor on the parties in the manner specified on the attached service list.

      The type(s) of service made on the parties was: electronic notification or first class mail, postage pre-
paid. Where service is by electronic notification, the address of the party is listed for identification purposes
only.

                   26
EXECUTED ON: June ______, 2025

                                                By: /s/ Lauren M. Moyer
                                                Lauren M. Moyer, Esq.
                                                FRIEDMAN VARTOLO LLP
                                                Attorneys for Rushmore Servicing as servicer for U.S. Bank
                                                National Association, not in its individual capacity but solely as
                                                Trustee for RMTP Trust, Series 2021 Cottage-TT-V
                                                1325 Franklin Avenue, Suite 160
                                                Garden City, NY 11530
                                                T: (212) 471-5100
                                                F: (212) 471-5150
                                                Bankruptcy@FriedmanVartolo.com




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Service by Regular Mail

Blake L. Mackesy
394 Ridge Avenue
Kingston, PA 18704
Bankruptcy Debtor

Service by NEF

Michael A. Cibik
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
Attorney

Jack N Zaharopoulos
Standing Chapter 13
(Trustee)
8125 Adams Drive, Suite A
Hummelstown, PA 17036
Bankruptcy Trustee

Asst. U.S. Trustee
United States Trustee
US Courthouse
1501 N. 6th St
Harrisburg, PA 17102
United States Trustee




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